Case No. 1:22-cv-01640-CNS-MDB Document 15 filed 12/28/22 USDC Colorado pg 1of2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

DENVER DIVISION FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

DEC 28 2022
JEFFRE
DANIEL P. RICHARDS REY P. COLWELL
a resident of the State of Washington
Civil Action No.
Plaintiff/Pro Se
v. 1:22-cv-01640-CNS-MDB

LOCKHEED MARTIN CORPORATION
D/B/A LOCKHEED MARTIN SPACE,

a corporation headquartered in and organized
under the laws of the State of Maryland

Defendant

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PLAINTIFF DANIEL RICHARD’S MOTION FOR ENLARGEMENT OF TIME
FOR ENTRY OF COUNSEL AND TO SERVE DEFENDANT

Comes now the Plaintiff, Daniel P. Richards, Pro Se, and moves the Court for an extension
and enlargement of the time for his out-of-state counsel to enter an appearance by motion Pro Hac
Vice with local counsel and to request a summons and serve the Defendant in this case.

Previously, I informed the Court that I had located an attorney for this case, but did not know
the technicalities required of the attorney appearing with local counsel licensed in Colorado. We are
working on finalizing local representation to appear with my attorney.

I will file pro se my summons for service upon the Defendant this week.

Dated: December 27, 2022

/s/ Daniel P. Richards
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Daniel P. Richards

Plaintiff / Pro Se

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